                                                                                                            5,(b
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AO 91 (Rev. 11/11) Criminal Complaint                    AUSA Corey B. Rubenstein (312) 353-8880
                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS

                                                                            I9CR 644
                                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                                      CASE NUMBER:
                         v.                                                      MAGISTRATE JUDGE COX
BERNARD HARVEY, JR.

                                         CRIMINAL COMPLAINT

        I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
        On or about August L3, 2019, at Chicago, in the Northern District of Illinois, Eastern
Division, the defendant(s) violated:
     Code Section                                   Offense Description

     Title 18, United States Code,      Section    Knowing that he had previously been convicted of
     e22(do)                                       a crime punishable by a term of imprisonment
                           FILHD                   exceeding one year, did knowingly possess, in and
                                                   affecting interstate commerce, a firearm, namely
                                                   one Ruger PC Carbine Model 19115 rifle bearing
                              AUGl$e019t,          serial number 911-19809, which firearm had
                         THOMASG. BRUTON
                                                   traveled in interstate commerce prior to
                      CLERK U.S. DISTR]CT COURT    defendant's possession of it.

     This criminal complaint is based upon these facts:
      X     Continued on the attached sheet.
                                                            /n.-:,
                                                           ALEXIS D. FIGU
                                                           Special Agent, Federal Bureau of Investigation
                                                           (FBr)

Sworn to before me and signed in my presence.

Date: Aueust 13. 2019
                                                                          Judge's signa,ture

City and state: Chicaso. Illinois                     SI   ISAN E. COX II.S- Masistrate Judse
                                                                       Printed name and Title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                      AFFIDAVIT

      I, ALEXIS D. FIGUEROA, being duly sworn, state as follows:

      1.       I   am a Special Agent with the Federal Bureau of Investigation (FBI),

and have been so employed for approximately four years. My                      current

responsibilities include the investigation of violent crimes, including, among others,

kidnaping, bank robbery, and the apprehension of violent fugitives.

      2.      This affidavit is submitted in support of a criminal complaint alleging

that BERNARD HARVEY, JR. ('HARVEY') has violated Title 18, United States
Code, Section      922(dO). Because this affidavit is being submitted for the limited
purpose of establishing probable cause    in support of a criminal complaint charging

HARVEY with possessing a firearm as a prohibited person, I have not included each

and every fact known to me concerning this investigation.    I have   set forth only the

facts that   I believe are necessary to establish probable cause to believe that the
defendant committed the offense alleged in the complaint.

      3.      This affidavit is based on my personal         knowledge, information

provided to me by other law enforcement agents, interviews conducted of witnesses,

and the review of surveillance footage obtained from the Jesse Brown VA Medical

Center ("the VA Hospital").

      4-      Based on the information contained in this Affidavit, there is probable

cause to believe    that on or about August 12, 20L9, HARVEY, knowing that he had
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previously been convicted of     a crime punishable by a term of         imprisonment

exceeding one year, knowingly possessed a firearm       that had been transported in

interstate commerce, namely one Ruger PC Carbine Model 19115 rifle bearing

serial number 911-19809, in violation of Title 18, United States Code, Section

e22(d1).

I.      FACTS IN SUPPORT OF PROBABLE CAUSE

        A. Augu st L2, 2019, arrest of HARVEY while in possession of a
           firearm
       5.     On August 12, 2019, at approximately 2:27 p.m' the Chicago Police

Department began to receive emergency 9-1-1 calls stating that a black male was

shooting a gun near the southeast corner of the VA Hospital, located at 820           S.


Damen Avenue, Chicago, Illinois. Surveillance footage from the VA Hospital depicts

that shortly thereafter a black male wearing a white t-shirt and dark colored pants

entered the Taylor Street entrance of the hospital while holding          a rifle.   Law

enforcement subsequently identified this person as FIARVEY, based on his Indiana

State Identification card. 1

       6.     At approximately that   same time, law enforcement officers assigned to

work at the hospital received communication from dispatch that an individual with

a firearm was at the Taylor Street entrance of the hospital. The officers responded

by proceeding from their location in the hospital to the Taylor Street entrance.

According to those officers, while walking through the atrium, they encountered

lWhile in custody and under video and audio surveillance, I attempted to advise HARVEY
of his Miranda rights. Because HARVEY did not appear to comprehend those warnings, I
ceased any effort to conduct an interview of him and no statement was elicited from him.
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HARVEY who was walking through the clinic area while holding the butt of a rifle

in the air with t}re mtzzle of the rifle pointed to the ground. Law enforcement
officers ordered HARVEY to drop the rifle, which he did. The officers ordered

HARVEY to the ground and he was placed under arrest. Law enforcement officers

seized a Ruger PC Carbine Model 19115, 9 mm caliber rifle, which HARVEY had

dropped to the ground.

      7.     Following HARVEYs arrest, additional law enforcement officers

arrived at the VA Hospital to investigate. As part of their investigation, Iaw

enforcement recovered six 9mm caliber casings from the outside of the VA Hospital

near the Taylor Street entrance and one 9mm caliber casing inside the VA Hospital,

also near the Taylor Street entrance. Additionally, law enforcement observed two

bullet holes in the building structure in that same proximity, one in the ceiling and

one in the entrance door.

      8.     Law enforcement also interviewed a civilian witness who stated that

he observed the following events just prior to HARVEY's arrest: The witness was

standing on the corner of Taylor Street and Damen Avenue, which            is at the
southeast corner of the VA Hospital. He observed the person later identified by law

enforcement as HARVEY firing a long gun multiple times as he was walking west

on Taylor Street. He then observed a person    in a vehicle unsuccessfully attempt to

stop HARVEY with his vehicle. The witness then observed HARVEY enter the VA

Hospital through the Taylor Street entrance.
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          B. The Firearm Was Transported in Interstate Commerce

        9.     Based on an    initial analysis by an FBI Certified Firearms   Specialist,

the Ruger PC Carbine Model 19115, 9 mm caliber rifle seized from HARVEY
traveled in interstate commerce prior to HARVEY's possession of the firearm on

August 12, 2079. According to information provided by the Bureau of Alcohol,

Tobacco and Firearms, the Ruger was manufactured         in New Hampshire, and       was

reported stolen from a Federal Firearms Licensee in Indiana on or about July 27,

2019.

          C. HARVEYs Felony Convictions

        10.    On August 12,2019,    I reviewed a criminal history report for HARVEY,

which included the following prior felony convictions: (a) March 15, 2005 conviction

(Circuit Court of Cook County) for being a felon in possession of a firearm, for which

IIARVEY was sentenced to 4 years' imprisonment; (b) December 74,2000 conviction

(Circuit Court of Cook County) for manufacturing/delivering dangerous drugs, for

which HARVEY was sentenced to 6 years' imprisonment; and (c) April 6, 1998

conviction (Circuit Court of Cook County) for unlawfully possessing a firearm, for

which HARVEY was sentenced to 150 days in jail, 2 years in probation, and public

service. Additionally, I have reviewed the Illinois Department of Corrections'
Mittimus records, which reflect that HARVEY was in IDOC custody from March             2,

1999, through December 2, 2003, and again from August 4, 2004, through January

30, 2009. Those records also reflect that HARVEY was periodically transferred for

inpatient psychiatric care.
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                                      FURTHER AFFIANT SAYETH NOT.


                                      ALEXIS D. FIGUEXOA
                                      Special Agent, Federal Bureau of
                                      Investigation



                                      me on August 13, 2019.


SUSAN E. COX
United States Magistrate Judge




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